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                          UNITED STATES DISTRICT COURT          June 21, 2024
                         EASTERN DISTRICT OF CALIFORNIA       CLERK, US DISTRICT COURT
                                                                            EASTERN DISTRICT OF
                                                                                CALIFORNIA


UNITED STATES OF AMERICA,                          Case No. 2:24-mj-00079-CKD

                  Plaintiff,

      v.                                                ORDER FOR RELEASE OF
                                                         PERSON IN CUSTODY
JACOB WESLEY BLACKWOOD,

                  Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release JACOB WESLEY BLACKWOOD ,

Case No. 2:24-mj-00079-CKD , Charge 21 USC § 846 , from custody for the following

reasons:

           Release on Personal Recognizance

           Bail Posted in the Sum of $

              X      Unsecured Appearance Bond $        10,000.00

                     Appearance Bond with 10% Deposit

                     Appearance Bond with Surety

                     Corporate Surety Bail Bond

              X      (Other): Defendants release is delayed until 07/18/2024 at 9:00 AM.

           Sacramento County Jail is further ORDERED to release the defendant with a

           30-day supply of any medications the defendant is receiving from the jail.

      Issued at Sacramento, California on June 21, 2024 at 2:40 PM.



                                    By:

                                          Magistrate Judge Allison Claire
